              Case 10-19894-LMI      Doc 43     Filed 04/24/15    Page 1 of 2



                       UNITED STATES BANKRUTPCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION
                               www.flsb.uscourts.gov

In re:
         Fernando Montes                      Case No. 10-19894-LMI
              and
         Xiomara Frometa

            Debtors.                          Chapter 13
_________________________/

                     MOTION TO MODIFY CHAPTER 13 PLAN

         COME NOW, the Debtors, by and through their undersigned counsel and file

this Motion to Modify Chapter 13 Plan and as grounds states as follows:

         1.     On April 15, 2010 the instant case was filed.

         2.     On July 20, 2010 Debtors’ First Amended Chapter 13 plan was confirmed.

         3.     Debtors’ confirmed plan has litigation language for a pending lawsuit

                which recovery from was allowed to distribute funds to unsecured

                creditors.

         4.     Debtors will receive or have already received a sum of money over and

                above the total unsecured claims timely filed.

         5.     Debtors wish to modify their plan in order to provide 100 percent payment

                to all allowed unsecured general claims.
           Case 10-19894-LMI         Doc 43     Filed 04/24/15      Page 2 of 2



       WHEREFORE, undersigned counsel prays that this Honorable Court enter an

Order Granting and Approving Debtors’ First Modified Plan.

       I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this Court as set forth in Local Rule 910(A).



                                       Respectfully Submitted:

                                       ROBERT SANCHEZ, P.A.
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                                       By:/s/ Robert Sanchez_____________
                                         Robert Sanchez, Esq., FBN#0442161
